         Case 4:21-cr-00025-BMM Document 17 Filed 05/05/21 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION


  UNITED STATES OF AMERICA,                         Case No. CR-21-25-GF-BMM

                  Plaintiff,
                                                              ORDER
  vs.

  KHALIL LAJUAN LYONS,

                 Defendant.

        Upon   request   of    the   Defendant,   Khalil   LaJuan   Lyons,   to   allow

detention hearing witness Erika Sheperd, to appear and testify at his detention

hearing via telephone or via video/Zoom, and good cause appearing, IT IS HEREBY

ORDERED: That the detention hearing witness, Erika Sheperd, will appear and

testify at the detention hearing set for May 6, 2021 via telephone or via video/Zoom.

Defense counsel will coordinate with the Clerk of Court for the Zoom appearance.

        DATED this 5th day of May, 2021.




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